Case 8:19-cv-01728-JVS-JDE Document 53 Filed 07/07/20 Page 1 of 2 Page ID #:455




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 8
                        UNITED STATES DISTRICT COURT
 9
                      CENTRAL DISTRICT OF CALIFORNIA
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12 FEDERAL TRADE COMMISSION,            )   Case No.: 8:19-cv-01728-JVS-JDE
                                        )
13                        Plaintiff,    )   PLAINTIFF FEDERAL TRADE
14                                      )   COMMISSION’S REPORT RE
                     v.                 )   MEDIATION
15                                      )
16   STUDENT ADVOCATES TEAM, LLC, )
     et al.,                            )
17                                      )
18                        Defendants.   )
                                        )
19                                      )
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 1        Plaintiff Federal Trade Commission (“FTC”) submits the following report on
 2 mediation. FTC Counsel circulated a draft and made multiple attempts to contact

 3 Defendants’ counsel over several days in an effort to submit a joint report as ordered

 4 by the Court [Doc. 35], but as of the time of filing this report, FTC Counsel has

 5 received no response from Defendants’ counsel.

 6        Mediator Byron Moldo conducted a mediation session via video conference on
 7 June 30, 2020 at 9:30 a.m. FTC counsel Delilah Vinzon, John Jacobs, and Maricela

 8 Segura attended on behalf of the FTC, and Defendants Bradley Hunt and Sean Lucero

 9 attended with their counsel, I. Hooshie Broomand. The parties have agreed to

10 continue settlement discussions, including sharing information over the next 30 days.

11 Thereafter, if the parties believe it will be useful, the parties may resume another

12 mediation session with Mr. Moldo in August 2020.

13        The parties have agreed to submit a stipulation to the Court seeking approval of
14 extended case management dates in light of the challenges counsel and the parties

15 have faced as a result of the COVID-19 pandemic as well as the parties’ efforts to

16 continue settlement negotiations and mediation.

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18                                      Respectfully submitted,
19 DATED: July 7, 2020

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21                                           /s/ Delilah Vinzon
22
                                        Delilah Vinzon
23                                      John D. Jacobs
24                                      Maricela Segura

25                                      Attorneys for Plaintiff
26                                      FEDERAL TRADE COMMISSION

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